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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

ZION CAPITAL VENTURES, INC.
And NICHOLAS GORDON                                                          PLAINTIFFS

V.     V.                                     4:15CV00748 JM

SKB PARTNERS, LLC;
SKB INSURANCE, LLC;
SCOTT SMITH, individually and
in his official capacity; and
JOHN DOES 1-9                                                                DEFENDANTS

                                          JUDGMENT

       On September 12, 2017, the Court granted the Plaintiffs’ motion for summary judgment

on Plaintiffs’ breach of contract, fraud and conversion claims. The Court directed Plaintiffs to

file a brief outlining its damages. Plaintiffs have filed their brief and Defendants have not

responded. The Court finds Plaintiffs’ damages are more appropriately recoverable under

Plaintiffs’ breach of contract theory. Accordingly:

       IT IS CONSIDERED, ORDERED AND ADJUDGED that Plaintiffs, Zion Capital

Ventures, Inc. And Nicholas Gordon have and recover of and from Defendants SKB Partners,

LLC, SKB Insurance, LLC and Scott Smith, individually and in his official capacity the sum of

$450,000.00, four hundred and fifty thousand dollars together with interest from this date until

the date paid at the rate of 1.62% per annum, in addition to pre-judgment interest at a rate of 6%

per annum to run from December 9, 2011 until this date.

       Additionally, Plaintiffs are entitled to recover attorneys fees in the amount of $15,750.00,

fifteen thousand seven hundred and fifty dollars and costs in the amount of $602.32, six hundred

and two dollars and thirty-two cents.

               Dated this 28th day of November, 2017.
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                                James M. Moody Jr.
                                United States District Judge
